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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: Todd D. Polin
 Heather E. Polin                                                               Chapter 13
                                Debtor(s)

 LOAN CARE SERVICING CENTER, INC
                      Moving Party                                          NO. 18-13469 ELF
          vs.

 Todd D. Polin
                                                                          11 U.S.C. Section 362
 Heather E. Polin
                                Debtor(s)

 and William C. Miller Esq.
                                Trustee


                                   CERTIFICATION OF DEFAULT

       I, Rebecca A. Solarz, Esquire, attorney for Moving Party, certify that Debtor(s) has/have
 defaulted upon the terms of the Stipulation. It is further certified that the attached notice dated May 05,
 2021 was served upon the Debtor(s) and Debtor’s Attorney on said date. Subsequent to said notice, the
 Debtor(s) has/have failed to cure the default. Accordingly, the Court shall enter the attached Order
 granting the Moving Party relief from the automatic stay.



                                                      /s/ Rebecca A. Solarz, Esquire
                                                      Rebecca A. Solarz, Esquire
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June 17, 2021
